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8                            UNITED STATES BANKRUPTCY COURT
9                             EASTERN DISTRICT OF WASHINGTON
10                                              )
     In re:                                     )     Case No. 18-03197-FPC11
11                                              )
     GIGA WATT INC,                             )     PORT OF DOUGLAS COUNTY’S
12                                              )     PRECAUTIONARY OBJECTION TO
                     Debtor in Possession.      )     DEBTOR IN POSSESSION’S
13                                              )     EMERGENCY MOTION FOR INTERIM
                                                )     AND FINAL ORDERS AUTHORIZING
14                                              )     DEBTOR IN POSSESSION TO (A)
                                                )     INCUR POST-PETITION DEBT ON AN
15                                              )     EMERGENCY BASIS PENDING A FINAL
                                                )     HEARING, AND (B) PROVIDE
16                                              )     SECURITY AND OTHER RELATED
                                                )     RELIEF
17                                              )
18            COMES NOW the Port of Douglas County (Port), by and through its attorney
19   William L. Hames of Hames, Anderson, Whitlow & O'Leary, P.S., and by way of
20   precautionary objection to the debtor in possession’s emergency motion for interim and
21   final order authorizing debtor in possession to (A) incur post-petition debt on an
22   emergency basis pending a final hearing, and (B) provide security and other related
23   relief, for the reason that the Port needs assurance that the cash in lieu of bond
24   currently being held by the Port pursuant to RCW 53.08.085 will not be an asset which
25   Debtor’s lender may realize upon in the event of Debtor’s default of the proposed loan.
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27   OBJECTION - 1                                  HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
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1           The Port is the landlord and debtor is tenant in a land lease dated March 9, 2017,
2    and an addendum to the lease agreement dated August 15, 2017. The lease, on page
3    4, requires the debtor to post lease surety pursuant to RCW 53.08.085 in a form
4    satisfactory to the landlord.   The debtor was unable to post a bond as surety and
5    therefore posted $300,000 cash in lieu of bond. In August of 2017, due to the cost of
6    leasehold improvements made by the landlord, the rent was increased, as was the
7    lease surety.   The lease surety was increased to $350,000.             The Port is currently
8    holding $350,000 cash in lieu of bond as lease surety pursuant to RCW 53.08.085.
9           Debtor’s proposed motion seeks to grant lender a priority lien over all existing
10   liens. The Port is concerned that lender may believe that the $350,000 cash being held
11   as lease surety by the Port could be an asset subject to lender’s claim in the event of
12   Debtor’s default.
13          Therefore, the Port prays that any order entered on Debtor’s motion specifically
14   exclude the lease surety being held by the Port as an asset that could be used by
15   lender in the event of Debtor’s default.
16          DATED THIS 20th day of December 2018.
17                                       HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
                                         Attorneys for Creditor Port of Douglas County
18

19                                       BY:           /s/ William L. Hames
                                                WILLIAM L. HAMES, WSBA #12193
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27   OBJECTION - 2                                  HAMES, ANDERSON, WHITLOW & O’LEARY, P.S.
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